Case 2:20-cv-00004-JRG Document 227 Filed 07/28/21 Page 1 of 6 PageID #: 5974




                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                  MARSHALL DIVISION

JOE ANDREW SALAZAR,                                §
                                                   §
                                                   §
                  Plaintiff,                       §
                                                   §
v.                                                 §   CIVIL ACTION NO. 2:20-CV-00004-JRG
                                                   §
AT&T MOBILITY LLC, SPRINT UNITED                   §
MANAGEMENT COMPANY, T-MOBILE                       §
USA INC, CELLCO PARTNERSHIP, INC.                  §
D/B/A VERIZON WIRELESS, INC.,                      §
                                                   §
                  Defendants.                      §

                                             ORDER
          Before the Court is Defendants’ and Intervenors’ Daubert Motion to Exclude Portions of

the Expert Report and Proffered Testimony of Plaintiff’s Expert Witness, Dr. Oded Gottesman

filed by Defendants AT&T Mobility LLC, Sprint/United Management Company, T-Mobile USA,

Inc., and Cellco Partnership d/b/a Verizon Wireless and Intervenors HTC Corp., and HTC

America, Inc. (collectively, “Defendants”). (Dkt. No. 145). Having considered the Motion, the

Court finds that it should be and hereby is DENIED.

     I.      LEGAL STANDARD
          Rule 702 provides that an expert witness may offer opinion testimony if (a) the expert's

scientific, technical, or other specialized knowledge will help the trier of fact to understand the

evidence or to determine a fact in issue; (b) the testimony is based on sufficient facts or data; (c)

the testimony is the product of reliable principles and methods; and (d) the expert has reliably

applied the principles and methods to the facts of the case. Fed. R. Evid. 702. “The inquiry

envisioned by Rule 702 is . . . a flexible one,” but, in Daubert, the Supreme Court held that the

Rules also “assign to the trial judge the task of ensuring that an expert’s testimony both rests on a
Case 2:20-cv-00004-JRG Document 227 Filed 07/28/21 Page 2 of 6 PageID #: 5975




reliable foundation and is relevant to the task at hand.” Daubert v. Merrell Dow Pharms. Inc., 509

U.S. 579, 594, 597 (1993). “The proponent need not prove to the judge that the expert’s testimony

is correct, but she must prove by a preponderance of the evidence that the testimony is reliable.”

Johnson v. Arkema, Inc., 685 F.3d 452, 459 (5th Cir. 2012) (quoting Moore v. Ashland Chem.,

Inc., 151 F.3d 269, 276 (5th Cir. 1998) (en banc)). At base, “the question of whether the expert is

credible or the opinion is correct is generally a question for the fact finder, not the court.” Summit

6, LLC v. Samsung Elecs. Co., Ltd., 802 F.3d 1283, 1296 (Fed. Cir. 2015).

    II.      ANALYSIS

             a. Dr. Gottesman’s Testimony Regarding “Communications System”
          Plaintiff Joe Andrew Salazar’s (“Salazar”) infringement expert, Dr. Oded Gottesman,

offered rebuttal validity opinions in Salazar v. HTC Corp., 2:16-cv-01096-JRG (“Salazar I”).

Defendants explain that Dr. Gottesman’s testimony in Salazar I was excluded with respect to

whether a “communications system” referred to a “telephonic device.” (Dkt. No. 145 at 6–7).

Defendants argue that in this case, Dr. Gottesman again improperly attempts to construe the term

“communications system” to require a “complete functional telephone device.” (Id.). Defendants

assert that this is an improper importation of an embodiment from the specification into the claims.

(Id.).

          Salazar responds that Dr. Gottesman’s testimony regarding the claimed “communications

system”—which Dr. Gottesman interpreted in Salazar I to require a “telephonic device”—was

excluded “based on his review of the specification, and not on its plain meaning within the art.”

(Dkt. No. 157 at 7–8). Here, Salazar argues, Dr. Gottesman applied the plain meaning of the term

as understood in the art, without relying on the specification. (Id.).

          The Court is not persuaded that Dr. Gottesman’s opinion with respect to the term

“communications system” falls below the Daubert standard and should be excluded. The term

                                                  2
Case 2:20-cv-00004-JRG Document 227 Filed 07/28/21 Page 3 of 6 PageID #: 5976




“communications system” has not been construed by the Court, and Dr. Gottesman is free to opine

as to the plain and ordinary meaning of the term as known within the art to a person of ordinary

skill. Defendants are also free to vigorously cross examine Dr. Gottesman regarding his opinion.

             b. Dr. Gottesman’s Use of the Expert’s Report in Salazar I
       Defendants argue that Dr. Gottesman extensively copied from Mr. Roy Griffin, Salazar’s

previous infringement expert in Salazar I, particularly with respect to the limitations which recite

“said microprocessor creating a plurality of reprogrammable communication protocols, for

transmission to said external devices” and “wherein each communication protocol includes a

command code set that defines the signals that are employed to communicate with each one of

said external devices.” (Dkt. No. 145 at 8–12). Additionally, Defendants contend that Mr. Griffin’s

previous report contained analysis equating the claim term “create” with the word “implement,”

and thus Dr. Gottesman now improperly equates the two terms. (Id. at 12–13).

       Salazar responds that Dr. Gottesman was sufficiently involved in drafting the substance of

his report, and any similarities between his report and that of Mr. Griffin’s in Salazar I go to

immaterial issues. (Dkt. No. 157 at 8–12). Salazar argues that any similarities between the two

reports can be explained by their reliance on the same source code expert. (Id.). Salazar further

states that Dr. Gottesman does not use the word “implementing” in place of “creating,” but rather

to explain how the accused devices function and satisfy the claim elements. (Id. at 12–14).

       The Court is not persuaded that Salazar’s use of the expert report from Salazar I rises to a

level mandating exclusion under the Daubert standard. Defendants are free to cross examine Dr.

Gottesman regarding the same. Skilled cross examination, in this context, is preferable to

exclusion.




                                                 3
Case 2:20-cv-00004-JRG Document 227 Filed 07/28/21 Page 4 of 6 PageID #: 5977




            c. Dr. Gottesman’s Use of Representative Products
         Defendants argue that Dr. Gottesman improperly claims that the accused HTC One M8

product is representative of the accused HTC One M8 for Windows product, even though the

products run completely different operating systems. (Dkt. No. 145 at 13–15). Defendants further

challenge Dr. Gottesman’s opinion on the basis that he never reviewed the source code for the

HTC One M8 for Windows. (Id.).

         Salazar responds that Dr. Gottesman studied and tested the functionality of the accused

devices, including the HTC One M8 Windows device. (Dkt. No. 157 at 14). Salazar argues that

Dr. Gottesman was not required to examine source code, and in any event, he relied on the

testimony of Mr. Byler, who reviewed the source code for the HTC One M8 Windows device.

(Id.).

         The Court is not persuaded that Dr. Gottesman’s analysis of representative products should

be excluded under Daubert. Defendants are free to actively and aggressively cross examine Dr.

Gottesman regarding the same.

            d. Dr. Gottesman’s Alleged Undisclosed Theories
         Claim 1 of the asserted patent requires “a memory device . . . such that the memory space

required to store said parameters is smaller than the memory space required to store said code

sets.” (Dkt. No. 145 at 15–17). Defendants contend that in the infringement contentions, Salazar

relied on the Nyquist sampling rate to satisfy this limitation, but for the first time in his expert

report, Dr. Gottesman points to Snapdragon processor hardware which is not mentioned in

Salazar’s infringement contentions. (Id.).

         Salazar argues that the Court’s claim construction necessitated the inclusion in Dr.

Gottesman’s expert report of allegations related to the Snapdragon microprocessor. (Dkt. No. 157

at 14–18). Salazar explains that the Claim Construction Order was issued on September 18, 2020,

                                                 4
Case 2:20-cv-00004-JRG Document 227 Filed 07/28/21 Page 5 of 6 PageID #: 5978




and rather than supplement the infringement contentions within 30 days, he included the new

allegations in Dr. Gottesman’s expert report. (Id.). Salazar contends that the allegations based on

Snapdragon should not be excluded because Defendants were not prejudiced or prevented from

conducting discovery on this issue. (Id.).

       The Court concludes that Salazar’s infringement contentions with respect to this limitation

should not be excluded under Daubert. The Court finds that Salazar’s decision to include the

allegations in his expert report, rather than supplement the infringement contentions, is reasonable

given the relevant timing.

             e. Doctrine of Equivalents Allegations
       Defendants argue that Salazar’s final infringement contentions contain boilerplate doctrine

of equivalents allegations that should be excluded. (Dkt. No. 145 at 17–19). Defendants further

assert that in his report, Dr. Gottesman did not provide “particularized testimony and linking

argument on a limitation-by-limitation” basis. (Id.).

       Salazar responds that Dr. Gottesman provided sufficient detail in his expert report

regarding DOE assertions, linking particular claim limitations to opinions. (Dkt. No. 157 at 18–

19). Salazar argues that if Defendants viewed the infringement contentions as insufficient with

respect to DOE, they should have filed a motion to strike. (Id.).

       The Court finds that Salazar has provided sufficient detail to satisfy the standard under the

doctrine of equivalents. The Court also notes that Defendants’ motion attempts to re-hash the

motion for summary judgment of noninfringement with respect to the doctrine of equivalents (Dkt.

No. 143), which the Court previously denied (Dkt. No. 220 at 4). Such a re-hash does not move

the Court.




                                                 5
Case. 2:20-cv-00004-JRG Document 227 Filed 07/28/21 Page 6 of 6 PageID #: 5979




   III.      CONCLUSION

          For the reasons stated above, Defendants’ and Intervenors’ Daubert Motion to Exclude

Portions of the Expert Report and Proffered Testimony of Plaintiff’s Expert Witness, Dr. Oded

Gottesman (Dkt. No. 145) is DENIED.


      So ORDERED and SIGNED this 28th day of July, 2021.




                                                        ____________________________________
                                                        RODNEY GILSTRAP
                                                        UNITED STATES DISTRICT JUDGE




                                               6
